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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION


 UNITED STATES OF AMERICA                )
                                         )
             v.                          )       CAUSE NO. 3:12-CR-91 RM
                                         )
 ANDRES GARCIA (04)                      )


                                      ORDER

       No objections have been filed to the magistrate judge’s findings and

 recommendations upon a plea of guilty issued on March 22, 2013. Accordingly,

 the court ADOPTS those findings and recommendations [docket # 305], ACCEPTS

 defendant Andres Garcia’s plea of guilty, and FINDS the defendant guilty of Count

 1 of the Indictment, in violation of 21 U.S.C. § 846 and18 U.S.C. § 2.

       SO ORDERED.

       ENTERED:      April 16, 2013



                                  /s/ Robert L. Miller, Jr.
                                Judge, United States District Court
                                Northern District of Indiana
